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            IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF OKLAHOMA

1) BRANDON SUMLIN,

2) LUCIUS GARRISON,

3) HARRY SKIPPER,

4) GREG WARD,
                                             Case No. CIV-20-77-D
5) SERGIO MORALES,
               Plaintiffs,
v.
EXPRESSWAYS RENTAL
PROPERTIES, LLC,
              Defendant.

                                COMPLAINT

      COME NOW THE PLAINTIFFS and hereby plead their claims as

follows:
                                  PARTIES

1.    The Plaintiffs are:

      A.     Brandon Sumlin, an adult resident of Oklahoma County,
             Oklahoma.

      B.     Lucius Garrison, an adult resident of Oklahoma County,

             Oklahoma.
      C.     Harry Skipper, an adult resident of Oklahoma County, Oklahoma.

      D.     Greg Ward, an adult resident of Oklahoma County, Oklahoma.
      E.     Sergio Morales, an adult resident of Oklahoma County, Oklahoma.



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2.   Defendant Expressways Rental Properties, LLC, (“Expressways”) is a

     domestic limited liability company operating in Oklahoma County,

     Oklahoma.

                      JURISDICTION AND VENUE
3.   Plaintiffs’ claims are for failure to pay wages as required under the Fair

     Labor Standard Act (“FLSA”), including a failure to pay overtime and a

     failure to properly maintain time records such that overtime could be

     compensated.

4.   Plaintiffs worked in and around Oklahoma County, Oklahoma, and the

     Defendant may be served in that county. Oklahoma County is located in

     the Western District of the United States District Court of Oklahoma.

     Wherefore, venue if proper in this court.
                         STATEMENT OF FACTS

5.   Defendant has had an annual gross volume of sales made or business

     done in an amount not less than $500,000 for the period covered by this
     complaint, and is a covered employer under the FLSA.

6.   Each of the named plaintiffs was employed by Defendant in Defendant’s

     maintenance department.
7.   Plaintiffs’ job duties included maintaining the property in a manner that

     is safe and able to be utilized by tenants.

8.   Plaintiffs worked on an hourly basis for Defendant and were required to
     be on-call for necessary emergency work.

9.   During their employment, Plaintiffs were required to work in excess of

     forty (40) hours per week in the performance of their job duties.


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10.   Plaintiffs were not salary employees as they were paid hourly if they

      worked less than forty hours per workweek.

11.   Defendant refused to track Plaintiffs’ hours worked in excess of forty

      (40), and failed to pay overtime compensation at a rate of 1.5 times
      Plaintiffs’ regular pay for hours worked in excess of forty (40) during the

      workweek.

12.   Plaintiffs were not exempt employees as defined by the FLSA.

13.   As a direct result of Defendant’s actions Plaintiffs have suffered lost

      wages (including overtime wages at a rate of 1.5 times their regular pay).

14.   Plaintiff Sumlin originally filed this action in Oklahoma County on

      March 28, 2017. Defendant timely and properly removed this action to

      the Western District of Oklahoma on April 27, 2017.
15.   By agreement of the parties, the statutes of limitations for Plaintiffs

      were tolled pending settlement negotiations.

16.   This action is timely refiled for the named Plaintiffs under the parties’
      agreement.

17.   Under the FLSA, Plaintiffs are entitled to compensation for the hours

      worked in excess of forty (40) per workweek, at a rate of 1.5 times their
      regular pay.

18.   Because the actions of Defendant were willful, Plaintiffs are entitled to

      liquidated damages in an amount equal to their actual damages.
                                   PRAYER

      Plaintiffs respectfully requests this Court enter judgment in their favor

and against the Defendant and grant them all compensatory damages suffered


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together with liquidated damages, attorneys’ fees, costs and interest and such

other legal and equitable relief as this Court deems just and proper.
 RESPECTFULLY SUBMITTED THIS 28TH DAY OF JANUARY 2020.


                                    s/D. Colby Addison
                                    D. Colby Addison, OBA #32718
                                    Leah M. Roper OBA #32107
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                                    ATTORNEY’S LIEN CLAIMED




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                       CERTIFICATE OF SERVICE
      This is to certify that on January 28, 2020, a true and correct copy of the
foregoing instrument was electronically transmitted to the Clerk of Court
using the ECF System for filing and transmittal of Notice of Electronic Filing
to the following ECF registrants:


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